            Case 3:08-cv-01565-VRW Document 108 Filed 09/04/09 Page 1 of 3



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 8
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13   Attorneys for Defendant
     NEWPATH NETWORKS, LLC
14

15                           IN THE UNITED STATES DISTRICT COURT
16                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
17
                                      SAN FRANCISCO DIVISION
18
19
     NEXTG NETWORKS, INC., a Delaware             Civil Action No.: C 08 01565 (VRW)
20   corporation,

21                       Plaintiff,

       v.                                         STIPULATION AND [PROPOSED]
22                                                ORDER FOR DISMISSAL
23   NEWPATH NETWORKS, LLC, a New Jersey
     limited liability company,
24
                         Defendant.
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     STIPULATION REGARDING SETTLEMENT AGREEMENT AND TO STAY LITIGATION   CASE NO. C 08 1565 (VRW)
           Case 3:08-cv-01565-VRW Document 108 Filed 09/04/09 Page 2 of 3



 1           WHEREAS on August 31, 2009, the parties reached a settlement to resolve this action.

 2           NOW, THEREFORE, IT IS HEREBY STIPULATED by and between the parties and through

 3   their respective counsel of record, subject to the Court's approval, that:

 4           1.      Each Parties' claims against the other are dismissed with prejudice; and

 5           2.      Each party shall bear its own costs and attorneys' fees.

 6           IT IS SO STIPULATED.

 7                                               Respectfully submitted,

 8                                              ORRICK, HERRINGTON & SUTCLIFFE LLP

 9

10   Dated: September 2, 2009                          /s/ Jeffrey A. Miller
                                                JEFFREY A. MILLER
11                                              JASON S. ANGELL
                                                Attorneys for Plaintiff NextG Networks, Inc.
12
                                                SEED IP LAW GROUP PLLC
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     Dated: September 2, 2009                            /s/ Timothy L. Boller
15                                              TIMOTHY L. BOLLER
                                                Attorneys for Defendant NewPath Networks, LLC
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17           IT IS SO ORDERED                                TA
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             September 4, 2009                                                   al ker
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21   Dated: ___________________
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                                               The Honorable   g
                                                           JudVaughn   R. Walker
                                                     RT




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22                                             Chief Judge, United States District Court
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                                                      Northern  District of California
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      STIPULATION REGARDING SETTLEMENT AGREEMENT AND TO STAY LITIGATION                   CASE NO. C 08 1565 (VRW)
          Case 3:08-cv-01565-VRW Document 108 Filed 09/04/09 Page 3 of 3



 1                                             ATTESTATION
 2          I, Jeffrey A. Miller, am the ECF User whose ID and password are being used to file this

 3   STIPULATION AND [PROPOSED] ORDER FOR DISMISSAL. In compliance with General
 4   Order 45, X.B., I hereby attest that Timothy L. Boller has read and approved this stipulation. I will

 5   maintain an executed copy of this stipulation in our files that can be made available for inspection

 6   upon request.

 7                                                Orrick, Herrington & Sutcliffe LLP

 8

 9   Dated: September 2, 2009                     By:                          /s/
                                                  Jeffrey A. Miller
10                                                Attorneys for Plaintiff NextG Networks, Inc.

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     STIPULATION REGARDING SETTLEMENT AGREEMENT AND TO STAY LITIGATION               CASE NO. C 08 1565 (VRW)
